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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7    BRAYDON BOMAN, a married man,
                                                   NO: 1:20-CV-3192-TOR
 8                              Plaintiff,
                                                   ORDER OF DISMISSAL WITH
 9          v.                                     PREJUDICE

10    UNITED FINANCIAL CASUALTY
      COMPANY, a foreign insurance
11    company,

12                              Defendant.

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14         BEFORE THE COURT is the parties’ Stipulated Motion for Dismissal with

15   Prejudice (ECF No. 10). The stipulation is filed pursuant to Federal Rule of Civil

16   Procedure 41(a)(1)(A)(ii) and provides for the dismissal of all claims and

17   counterclaims between the parties in the current action with prejudice, and without

18   costs or attorney fees awarded to any party. The Court has reviewed the record

19   and files herein and is fully informed.

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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 1         According to Rule 41(a)(1)(A)(ii), a plaintiff may dismiss an action without

 2   a court order by filing a stipulation signed by all parties who have appeared.

 3   ACCORDINGLY, IT IS HEREBY ORDERED:

 4         1. The parties’ Stipulated Motion for Dismissal with Prejudice, ECF No. 10,

 5            is GRANTED.

 6         2. Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is

 7            DISMISSED with prejudice, each party shall bear their own costs and

 8            attorneys’ fees.

 9         3. All deadlines, hearings and trial are VACATED.

10         The District Court Executive is directed to enter this Order and Judgment

11   accordingly, furnish copies to counsel, and CLOSE the file.

12         DATED December 2, 2021.

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14                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
